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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION


 THE SWEETBRIDGE GROUP, LLC,                                        CIV. 21-4138

                 Plaintiff,

         vs.
                                                            COMPLAINT AND DEMAND
                                                               FOR JURY TRIAL
 ROBINSON & COLE, LLP,

                 Defendant.


        Plaintiff The Sweetbridge Group, LLC ("Sweetbridge") states as its Complaint against

Defendant Robinson & Cole, LLP ("Robinson") as follows:

                               PARTIES, JURISDICTION, AND VENUE

        1.     Sweetbridge is a South Dakota corporation with its principal place of business in

Sioux Falls, South Dakota.

       2.      On information and belief, Robinson & Cole, LLP is a Connecticut limited

liability partnership with its principal place of business in Hartford, Connecticut.

       3.      The parties are diverse (citizens of different states) and the matter in controversy

in this civil action exceeds $75,000.

       4.      This Court has jurisdiction over this civil action under 28 U.S.C. 1332(a).

       5.      Venue in this Court is proper under 28 U.S.C. 1391 because, among other

reasons, Sweetbridge performed its contractual obligations in South Dakota.

                  THE LAW FIRM MERGER OR ACQUISITION AGREEMENT

       6.       Sweetbridge is a legal recruiting company that works with law firms seeking to

engage in mergers and acquisitions.



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        7.      Sweetbridge introduces law firms that want to be acquired to law firms seeking to

make acquisitions.

        8.      On April 26, 2021, Robinson engaged Sweetbridge to assist it in finding possible

candidates for merger or acquisition by signing a Law Firm Merger or Acquisition Agreement

("the Agreement").

        9.      Pursuant to the Agreement, Sweetbridge was to introduce candidate law firms

(referred to in the Agreement as "Firms") to Robinson.

        10.     If the introduction resulted in a merger or acquisition, Robinson was to pay

Sweetbridge a commission.

        11.     The Agreement provided as follows: "The Firm's introduction is confidential.

[Robinson] shall not refer or identify Firm to any other company or firm."

        12.     Because rumors of merger and acquisition can be extremely damaging to law

firms, it is essential that the identities of the candidate firms are kept confidential.

       13.      Breach of confidentiality is also harmful to Sweetbridge. If other recruiters learn

that a firm is exploring merger or acquisition - information that is not generally widely known,

because most candidate firms insist on confidentiality - then Sweetbridge loses business.

       14.      Pursuant to its duties under the Agreement, Sweetbridge provided Robinson with

the names of three law firms that were seeking to be acquired ("the Three Firms").

       15.      After signing the Agreement, Robinson approached Major, Lindsay, and Africa

("MLA"), a large recruitment firm and Sweetbridge's direct competitor.

       16.     In violation of the Agreement, Robinson disclosed to MLA the names of the

Three Firms that Sweetbridge had provided to Robinson in confidence.




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                            COUNT 1:BREACH OF CONTRACT
        17.    Sweetbridge incorporates by reference the entirety of its Complaint.

        18.    As set forth above, Robinson agreed that it would not refer or identify any of the

firms that Sweetbridge introduced to any other company or firm.

       19.     Sweetbridge introduced the Three Firms to Robinson pursuant to the Agreement.

       20.     Robinson shared the identities of the Three Firms with MLA, a direct competitor

of Sweetbridge, which is a breach of the Agreement.

       21.     As a result of Robinson's breach of the confidentiality provision in the

Agreement, Sweetbridge has lost the opportunity to facilitate the merger or acquisition of the

Three Firms and has therefore lost the commissions it would have received.

       22.     As a result of Robinson's breach of contract, Swetbridge has suffered and will

suffer reputational and other damages in a form and amount to be proven at trial.

       23.     Sweetbridge is entitled to a judgment against Robinson in the amount of the

commissions it would have otherwise received from the merger or acquisition of the Three

Firms, which is $2,250,000.00.

       24.     Sweetbridge is entitled to a judgment against Robinson in an amount to be proven

at trial to compensate Sweetbridge for all past, present, and future damages caused by

Robinson's breach of contract.

                         COUNT2:TORTIOUSINTERFERENCE
       25.     Sweetbridge incorporates by reference the entirety of its Complaint .

       26.     Sweetbridge has and had valid business and contractual relationships and

expectancies with the Three Firms.




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        27.     Robinson was aware of Sweetbridge's relationships and expectancies with the

Three Firms.

        28.     Robinson intentionally and unjustifiably interfered with these relationships and

expectancies by disclosing the names of the Three Firms to MLA.

        29.     As a result of Robinson's interference, Sweetbridge has lost the opportunity to

facilitate the merger or acquisition of the Three Firms and has therefore lost the commissions it

would have received ($2,250,000.00), as well as suffering reputational and other damages.

       30.     Sweetbridge is entitled to a judgment against Robinson in an amount to be proven

at trial to compensate it for all damages it has suffered and will continue to suffer as a result of

Robinson's tortious interference with Sweetbridge's relationships and expectancies.

       WHEREFORE, Sweetbridge prays for the following relief:

       A.      For the relief requested in this Complaint, including a judgment against Robinson

in an amount to be proven at trial, but not less than $2,250,000.00;

       B.      For recovery of costs, disbursements, expenses, and attorney's fees; and

       C.      For other relief that the Court finds just, lawful, fair, reasonable, or equitable.
                                                       1
       Dated at Sioux Falls, South Dakota, this \ b �day of August, 2021.

                                                   DAVENPORT, EVANS, HURWITZ &
                                                   SMITH, L.L.P.



                                                  Mitchell eterson
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                                                  206 West 14th Street
                                                  PO Box 1030
                                                  Sioux Falls, SD 57101-1030
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                                                  Facsimile: (605) 335-3639
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                                                  Attorneys for Plaintiff



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                              DEMAND FOR JURY TRIAL

    Plaintiff demands a trial by jury on all issues of fact.




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    JS 44 {Rev. 02/! 9)                                                                                      CIVIL COVER SHEET
    The J S 44 civil cover sheet and the information con tained here i n neither replace nor s upplement the fil ing and service o f pl eadin&s or other papers as required by l aw, except as
    provided by local rules of court. This fonn, approved by the Judic ial Conference of the U n ited States in September 1 974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSl1/UC11ONS ON NEXT PAGE OF 1HIS FORM.)

    I . (a) PLAINTI FFS                                                                                                                                        DEFENDANTS

     The Sweetbridge G roup, LLC                                                                                                                            Robinson & Cole, LLP


             (b) County of Res idence offirst Listed Pla intiff                                  _i_n_n_e_h_a_h_a______
                                                                                                _M                                                             County of Residence of First Listed Defendant                             H_a_rtt
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                                                                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                            THE TRACT OF LAND INVOLVED.

             ( c) Attorneys (Firm Name, Addm:r, and Telephone Numhe,)                                                                                          Attorneys ({(K110\l'n)

    Mitchell A. Peterson, E l izabeth S . H e rtz
    206 W. 1 4th St, S ioux Falls SD 5 7 1 04 605.336.2880

   II. BASIS OF J U RISD I CTI ON (Place a11 "X" in One Box O11IJ)                                                                       I l l . CITIZENSHIP OF PRINCJP AL P ARTIES (Place an "X" i11 O11e Box.for l'lai11riff
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  0 I          U.S. Government                           0 3 Federal Question                                                                                                              PTF        DEF                                                          PTF           DEF
                 Plaintiff                                             (U.S. Govemmenr Not a Par!y)                                               Citizen of This State                    O I        O l          Incorporated or Principal Place                  � 4          0 4
                                                                                                                                                                                                                     of Business ln Tilis State

  0 2          U.S. Govemmcnt                            � 4 Diversity                                                                            Citizen of Another State                0 2          0 2         Incorporated a11d Principal Place                 0 5         i!f. 5
                  Defendant                                           (Indicate Citizenship <!fPonies in llem Ill)                                                                                                    of Business In Another State

                                                                                                                                                                                          0 3          0 3        Foreign Nation                                     0 6         0 6

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  0 1 5 1 Medicare Act                              0 330 Federal Employers'                                                Producl Liability                                                                     0 830 Patent                               0 450 Commerce
  0 1 52 Recovery of Defaulted                                           Liability                                  0 368 Asbestos Personal                                                                       0 835 Patent - Abbreviated                 0 460 Deportation
                  Student Loans                     0 340 Marine                                                             Injury Product                                                                                  New Drug Application            0 470 Racketeer Influenced and
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 0 240 Torts to Land                                0 443 Housing/                                                          Sentence                                                                                         26 USC 7609                     0 899 Adminisb·ative Procedure
 0 245 Tort Product Liability                                          Accommodations                               0 530 General                                                                                                                                  Act/Review or Appeal of
 0 290 All Other Real Property                     □ 445 Arner. w/Disabilities - 0 535 Death Penalty                                                 .
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                                                   0 446 Amer. w/Disabilities - 0 540 Mandamus & Otlter                                          0 465 Other Immigration                                                                                           State Statutes
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V. ORIGIN (Place an "X" in O11e Box O11ly)
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V I . CAUSE OF ACTION 1-B-r-  -----    . ---""'-�- ----------------------------------
                           i ef d esc n ption of c au s e-
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                         B reach of contract, tortious interference with busi ness expecta ncy
VII . REQUESTED IN                                         0 CHECK IF THIS IS A CLASS ACTION                                                        D EMAND $                                               CHECK YES only if demanded in complaint:
               COM PLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                                 2,250,000 .00                                         J URY DEMAND:        � Y es      No                    □
VIII. RELATED CASE(S)
                                                                (See ins1ructio11s):
               IF ANY                                                                                                                                                                             DOCKET NUMBER
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FOR OFFICE USE ONLY

     RECEIPT #'                                AMOUNT                                                                                                                        JUDGE                                        MAG. JUDGE
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 JS 44 Reverse (Rev. 02/19)

                        INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                   Authority For Civil Cover Sheet

 The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
 required by law, except as provided by local rnles of court. This fo1111, approved by the Judicial Conference of the United States in September 1974, is
 required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
 Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

 I.(a)       Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
             only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identif'.y first the agency and
             then the official, giving both name and title.
     ( b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
             time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
             condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
     (c)     Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
             in this section "(see attachment)".

 Il.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
            in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
            United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
            United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
            Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
            to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
            precedence, and box 1 or 2 should be marked.
            Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
            citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
            cases.)

III.        Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
            section for each principal party.

IV.         Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
            that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.          Origin. Place an "X" in one of the seven boxes.
            Original Proceedings. (1) Cases which originate in the United States district courts.
            Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district comis under Title 28 U.S.C., Section I 441.
            Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
            date.
            Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
            Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
            multidistrict litigation transfers.
            Multidistrict Litigation-Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
            Section 1407.
            Multidistrict Litigation-Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
            NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
            statue.

VI.         Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
            statutes unless diversity. Exan1ple: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.        Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
            Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
            Ju1y Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, inse11 the docket
            numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.
